20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 1 of
                                        22



                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

In re:                                 §             Chapter 11
KRISJENN RANCH, LLC                    §
       Debtor                          §          Case No. 20-50805
                                       §
_________________________________________________________________________

KRISJENN RANCH, LLC and                §
KRISJENN RANCH, LLC-SERIES             §
UVALDE RANCH, and KRISJENN             §
RANCH, LLC-SERIES PIPELINE             §
ROW as successors in interest to       §
BLACKDUCK PROPERTIES, LLC,             §
     Plaintiffs                        §
                                       §
v.                                     §
                                       §
DMA PROPERTIES, INC., and              §
LONGBRANCH ENERGY, LP,                 §        Adversary No. 20-05027
      Defendants                       §
_________________________________________________________________________

DMA PROPERTIES, INC                          §
     Cross-Plaintiff/Third Party Plaintiff   §
v.                                           §
                                             §
KRISJENN RANCH, LLC,                         §
KRISJENN RANCH, LLC-SERIES                   §
UVALDE RANCH, and KRISJENN                   §
RANCH, LLC-SERIES PIPELINE ROW,              §   Adversary No. 20-05027
BLACK DUCK PROPERTIES, LLC,                  §
LARRY WRIGHT, and JOHN TERRILL               §
     Cross-Defendants/Third-Party            §
     Defendants                              §

     KRISKENN RANCH, LLC, KRISKENN RANCH, LLC-SERIES UVALDE RANCH,
     AND KRISJENN RANCH, LLC-SERIES PIPELINE ROW, AS SUCCESSORS IN
         INTEREST TO BLACK DUCK PROPERTIES, LLC’S ANSWER AND
             AFFIRMATIVE DEFENSES TO FRANK DANIEL MOORE’S
                 COUNTERCLAIMS AND THIRD-PARTY CLAIMS




                                             1
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 2 of
                                        22



 TO THE HONORABLE CHIEF BANKRUPCY JUDGE RONALD B. KING:

    COME NOW Debtors, Claimants, and Third-Party Defendants KrisJenn Ranch, LLC,

 KrisJenn Ranch, LLC-Series Uvalde Ranch, KrisJenn Ranch, LLC-Series Pipeline Row, and

 KrisJenn Ranch, LLC as successor In Interest to Black Duck Properties, LLC (collectively the

 “Debtors”), hereby answer the Complaint of Defendant and Third-Party Plaintiff Frank Daniel

 Moore as follows:

                                             PARTIES

    1. Paragraph 1 is admitted.

    2. Paragraph 2 is admitted.

    3. Paragraph 3 is admitted.

    4. Paragraph 4 is admitted.

    5. Paragraph 5 is admitted.

    6. Paragraph 6 is denied.

    7. Paragraph 7 is admitted.

    8. Paragraph 8 is admitted.

                                  JURISDICTION AND VENUE

    9. Paragraph 9 is admitted.

    10. Paragraph 10 is admitted.

    11. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 11. Debtors are not certain at this time whether adjudication of the

 claims herein are necessary to the effective reorganization of the Debtors.

    12. Paragraph 12 is admitted.




                                                  2
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 3 of
                                        22



                                    FACTUAL BACKGROUND

    13. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 13.

    14. Debtors admit that Moore met Wright during a previous investment deal but otherwise

 deny the allegations made in Paragraph 14.

    15. Paragraph 15 is denied.

    16. Paragraph 16 is denied.

    17. Paragraph 17 is admitted.

    18. Debtors admit that Wright and Moore formed Black Duck Properties, LLC but otherwise

 deny the allegations made in Paragraph 18.

    19. Debtors admit that the ownership structure of Black Duck is stated correctly but otherwise

 deny the allegations made in Paragraph 19.

    20. Debtors deny that Moore found a buyer but otherwise admit the allegations made in

 Paragraph 20.

    21. Paragraph 21 is admitted.

    22. Debtors deny that Moore took steps to purchase the right of way but otherwise admit the

 allegations made in Paragraph 22.

    23. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 23.

    24. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 24.

    25. Paragraph 25 is admitted.




                                                3
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 4 of
                                        22



    26. Paragraph 26 is admitted as to the accuracy of the text of the unexecuted Exhibit, but denied

 as to DMA’s interpretation of the agreement.

    27. Paragraph 27 is admitted.

    28. Paragraph 28 is denied.

    29. Debtors admit that Wright reimbursed the $25,000, but otherwise deny the allegations in

 Paragraph 29.

    30. Paragraph 30 is admitted as to the accuracy of the text, denied as to DMA’s interpretation

 of the agreement.

    31. Paragraph 31 is admitted.

    32. Paragraph 32 is denied.

    33. Debtors admit Black Duck paid for extensions but otherwise deny the allegations made in

 Paragraph 33.

    34. Paragraph 34 denied.

    35. Paragraph 35 is denied.

    36. Paragraph 36 is denied.

    37. Paragraph 37 is denied.

    38. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 38.

    39. Paragraph 39 is admitted.

    40. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 40.

    41. Debtors admit to the alleged closing date but otherwise lack sufficient knowledge or

 information to form a belief about the truth of the allegations made in Paragraph 41.


                                                 4
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 5 of
                                        22



    42. The alleged representations made by Wright in Paragraph 42 are denied and Debtors lack

 sufficient knowledge or information to form a belief about the truth of all other allegations made

 in Paragraph 42.

    43. Paragraph 43 is denied.

    44. Paragraph 44 is denied.

    45. Debtors admit that a deed of trust was executed on January 18, 2018, and that documents

 were prepared by David Strolle, but all other allegations made in Paragraph 45 are denied.

    46. Debtors admit that Black Duck sought a buyer for the right-of-way, but deny all other

 allegations made in Paragraph 46.

    47. Debtors admit that Moore resigned from Black Duck, but otherwise deny the allegations

 made in Paragraph 47.

    48. Debtors admit there was a written email with terms of resignation but otherwise deny the

 allegations made in Paragraph 48.

    49. Paragraph 49 is admitted.

    50. Paragraph 50 is admitted.

    51. Debtors admit that the alleged documents were signed but otherwise deny the allegations

 made in Paragraph 51.

    52. Paragraph 52 is admitted as to the accuracy of the text, denied as to DMA’s interpretation

 of the agreement.

    53. Paragraph 53 is admitted.

    54. Paragraph 54 is admitted as to the text, denied as to enforceability.

    55. Paragraph 55 is admitted.

    56. Paragraph 56 is denied.


                                                  5
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 6 of
                                        22



    57. Debtors admit a letter of intent was proposed by John Terrill and signed by Larry Wright

 but otherwise deny the allegations made in Paragraph 57.

    58. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 58.

    59. Paragraph 59 is admitted.

    60. Paragraph 60 is admitted.

    61. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 61.

    62. Debtors admit that there was a meeting between the stated persons but otherwise deny the

 allegations made in Paragraph 62.

    63. Debtors admit that the parties drove to the right of way but lack sufficient knowledge or

 information to form a belief about the truth of all other allegations made in Paragraph 63.

    64. Paragraph 64 admitted.

    65. Debtors admit that Borders called Moore but otherwise deny the allegations made in

 Paragraph 65.

    66. Paragraph 66 admitted.

    67. Paragraph 67 is denied.

    68. Debtors deny there was radio silence but lack sufficient knowledge or information to form

 a belief about the truth of the allegations made in Paragraph 68.

    69. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 69.

    70. Paragraph 70 is admitted.

    71. Paragraph 71 is admitted.


                                                  6
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 7 of
                                        22



    72. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 72.

    73. Paragraph 73 is admitted.

    74. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 74.

    75. Paragraph 75 is denied.

    76. Paragraph 76 is denied.

    77. Paragraph 77 is denied.

    78. Debtors admit to the actions were taken by David Strolle, but otherwise deny the

 allegations made in Paragraph 78.

    79. Paragraph 79 is admitted.

    80. Paragraph 80 is denied.

    81. Debtors deny the existence of a “peaceful resolution” but otherwise admit the allegations

 made in Paragraph 81.

    82. Debtors admit that KrisJenn Ranch, LLC Series Pipeline ROW paid $2.5 million, but

 otherwise deny the allegations made in Paragraph 82.

    83. Debtors admit that the foreclosure occurred but otherwise deny the allegations made in

 Paragraph 83.

    84. Debtors deny there has been a requests for records other than through litigation but

 otherwise admit the allegations made in Paragraph 84.

    85. Paragraph 85 is denied.

    86. The allegations made in paragraph 86 are admitted to the extent suits were filed but

 otherwise denied.


                                                7
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 8 of
                                        22



    87. Debtors admit that the Court held the venue was not proper but otherwise deny the

 allegations in Paragraph 87.

    88. Debtors admit that the summary judgment was denied but otherwise deny the allegations

 made in Paragraph 88.

    89. Paragraph 89 is admitted.

    90. It is admitted that Wright, as principal of the Debtor entities, filed for bankruptcy protection

 and that he provided discovery responses prior to the bankruptcy filing and that Wright, on behalf

 of Krisjenn, voluntarily provided responsive documents after the bankruptcy filing.               The

 allegations made in Paragraph 90 are otherwise denied.

    91. Paragraph 91 is denied.

                                       MOORE’S CLAIMS

    92. Debtors lack sufficient knowledge or information to form a belief about the truth of the

 allegations made in Paragraph 92.

                                CLAIM 1: BREACH OF CONTRACT

    93. In response to Paragraph 93, Debtors reassert all of their responses to Paragraphs 13 to 92

 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the same by

 reference.

    94. Paragraph 94 states conclusions of law to which no responsive pleading is required. To

 the extent a responsive pleading is required, the allegations in this paragraph are denied.

    95. Debtors admit the requests correctly quotes the language used in the agreement but

 otherwise deny the allegations made in Paragraph 95.

     96. Paragraph 96 is admitted.




                                                   8
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 9 of
                                        22



     97. Paragraph 97 states conclusions of law to which no responsive pleading is required. To

           the extent a responsive pleading is required, the allegations in this paragraph are denied.

     98. Paragraph 98 states conclusions of law to which no responsive pleading is required. To

           the extent a responsive pleading is required, the allegations in this paragraph are denied.

    99. Debtors admit that KrisJenn Ranch, LLC is successor-in-interest to Black Duck but

 otherwise deny the allegations made in Paragraph 99.

     100.        Paragraph 100 is denied.

     101.        Paragraph 101 states conclusions of law to which no responsive pleading is

           required. To the extent a responsive pleading is required, the allegations in this paragraph

           are denied.

     102.        Paragraph 102 states a request for relief and conclusions of law to which no

           responsive pleading is required. To the extent a responsive pleading is required, the

           allegations in this paragraph are denied.

     103.        Paragraph 103 states conclusions of law to which no responsive pleading is

           required. To the extent a responsive pleading is required, the allegations in this paragraph

           are denied.

                           CLAIM 2: BREACH OF FIDUCIARY DUTY

    104.         In response to Paragraph 104, Debtors reassert all of their responses to Paragraphs

 13 to 103 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

 same by reference.

    105.         Paragraph 105 states conclusions of law to which no responsive pleading is

 required. To the extent a responsive pleading is required, the allegations in this paragraph are

 denied.


                                                   9
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 10 of
                                         22



     106.        Paragraph 106 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     107.        Paragraph 107 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     108.        Paragraph 108 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     109.        Paragraph 109 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.

     110.        Paragraph 110 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.

            CLAIM 3: AIDING AND ABETTING BREACH OF FIDUCIARY DUTY

     111.        In response to Paragraph 111, Debtors reassert all of their responses to Paragraphs

  13 to 110 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     112.        Paragraph 112 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                  10
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 11 of
                                         22



     113.        Paragraph 113 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     114.        Debtors admit that Larry Wright has an ownership in the KrisJenn entities but

  otherwise deny the allegations made in Paragraph 114.

     115.        Paragraph 115 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     116.        Paragraph 116 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     117.        Paragraph 117 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     118.        Paragraph 118 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     119.        Paragraph 119 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     120.        Paragraph 120 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.


                                                  11
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 12 of
                                         22



     121.        Paragraph 121 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.

                CLAIM 4: TORTIOUS INTERFERENCE WITH CONTRACT

     122.        In response to Paragraph 122, Debtors reassert all of their responses to Paragraphs

  13 to 121 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     123.        Paragraph 123 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     124.        Paragraph 124 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     125.        Paragraph 125 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     126.        Paragraph 126 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.

                               CLAIM 5: PROMISSORY ESTOPPEL

     127.        In response to Paragraph 127, Debtors reassert all of their responses to Paragraphs

  13 to 126 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.


                                                  12
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 13 of
                                         22



     128.       Paragraph 128 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     129.       Paragraph 129 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     130.       Paragraph 130 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     131.       Paragraph 131 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     132.       Paragraph 132 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

                                       CLAIM 6: FRAUD

     133.       In response to Paragraph 133, Debtors reassert all of their responses to Paragraphs

  13 to 132 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     134.       Paragraph 134 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                13
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 14 of
                                         22



     135.       Paragraph 135 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     136.       Paragraph 136 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     137.       Paragraph 137 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     138.       Paragraph 138 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     139.       Paragraph 139 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     140.       Paragraph 140 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     141.       Paragraph 141 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                14
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 15 of
                                         22



     142.       Paragraph 142 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

                         CLAIM 7: AIDING AND ABETTING FRAUD

     143.       In response to Paragraph 143, Debtors reassert all of their responses to Paragraphs

  13 to 142 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     144.       Paragraph 144 is denied.

     145.       Paragraph 145 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     146.       Debtors admit that Larry Wright has an ownership interest in the KrisJenn entities

  but otherwise deny the allegations in Paragraph 146.

     147.       Paragraph 147 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     148.       Paragraph 148 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     149.       Paragraph 149 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                 15
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 16 of
                                         22



     150.        Paragraph 150 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     151.        Paragraph 151 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     152.        Paragraph 152 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.

     153.        Paragraph 153 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.

                                 CLAIM 8: CIVIL CONSPIRACY

     154.        In response to Paragraph 154, Debtors reassert all of their responses to Paragraphs

  13 to 153 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     155.        Paragraph 155 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     156.        Paragraph 156 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                  16
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 17 of
                                         22



                               CLAIM 9: UNJUST ENRICHMENT

     157.        In response to Paragraph 157, Debtors reassert all of their responses to Paragraphs

  13 to 156 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     158.        Paragraph 158 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     159.        Paragraph 159 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

                               CLAIM 10: DECLARATORY RELIEF

     160.        In response to Paragraph 160, Debtors reassert all of their responses to Paragraphs

  13 to 159 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     161.        Paragraph 161 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     162.        Paragraph 162 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     163.        Paragraph 163 states a request for relief and conclusions of law to which no

  responsive pleading is required. To the extent a responsive pleading is required, the allegations in

  this paragraph are denied.


                                                  17
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 18 of
                                         22



     164.       Paragraph 157 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

             CLAIM 11: NONDISCHARGEABILITY OF DEBTS AND CLAIMS

     165.       In response to Paragraph 165, Debtors reassert all of their responses to Paragraphs

  13 to 164 of Frank Daniel Moore’s Counterclaims and Third-Party Claims and incorporate the

  same by reference.

     166.       Paragraph 166 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     167.       Paragraph 167 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     168.       Paragraph 168 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     169.       Paragraph 169 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     170.       Paragraph 170 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                18
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 19 of
                                         22



     171.       Paragraph 171 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     172.       Paragraph 172 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     173.       Paragraph 173 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     174.       Paragraph 174 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     175.       Paragraph 175 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     176.       Paragraph 176 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.

     177.       Paragraph 177 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this paragraph are

  denied.




                                                19
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 20 of
                                         22



                                         ATTORNEY’S FEES

     178.          Paragraph 178 states conclusions of law to which no responsive pleading is

  required. To the extent a responsive pleading is required, the allegations in this Paragraph are

  denied.

            The remainder of Third-Party Plaintiff’s Counterclaims and Third-Party Claims consist of

  a prayer for relief, to which no response is required. To the extent a response is deemed required,

  Debtors deny DMA Properties, Inc is entitled to the requested relief or any relief whatsoever.

                                       AFFIRMATIVE DEFENSES

     179.          Defendants and Counter-Claimants’ claims are barred by illegality.

     180.          Defendants and Counter-Claimants’ claims are barred, in whole or in part, by the

  applicable statute of limitations.

     181.          Defendants and Counter-Claimants’ claims are barred, in whole or in part, by the

  doctrine of laches.

     182.          Defendants and Counter-Claimants’ claims are barred, in whole or in part, by the

  doctrine of estoppel.

     183.          Debtors assert the defense of comparative negligence and assert that the damages

  alleged by Defendants and Counter-Claimants were legally and proximately caused in whole or in

  part by the negligence, fault, negligence per se, and/or other culpable conduct of other persons or

  parties who failed to exercise the same degree of care and caution as would have been exercised

  by persons using ordinary care in the same or similar circumstances. Debtors are therefore entitled

  to have the Court and Jury apply the doctrine of comparative negligence established by Chapter

  33 of the Texas Civil Practice & Remedies Code, to reduce any judgment against them by the

  degree of negligence or fault attributable to any other person or party.


                                                   20
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 21 of
                                         22



        WHEREFORE PREMESIS CONSIDERED Debtors, Claimants, and Third-Party

  Defendants KrisJenn Ranch, LLC, KrisJenn Ranch, LLC-Series Uvalde Ranch, KrisJenn Ranch,

  LLC-Series Pipeline Row, and KrisJenn Ranch, LLC as Successor In Interest to Black Duck

  Properties, LLC pray for a judgment dismissing the Complaint with prejudice and for such further

  relief as the Court may deemed them justly entitled.

        Dated: July 6, 2020



                                       Respectfully submitted,

                                       MULLER SMEBERG, PLLC

                                 By:    /s/ John Muller
                                       C. John Muller IV
                                       State Bar No. 24070306
                                       john@muller-smeberg.com
                                       Ronald J. Smeberg
                                       State Bar No. 24033967
                                       ron@smeberg.com
                                       Ezekiel J. Perez
                                       State Bar No. 24096782
                                       zeke@muller-smeberg.com
                                       111 W. Sunset Rd.
                                       San Antonio, TX 78209
                                       Telephone: 210-664-5000
                                       Facsimile: 210-598-7357

                                       ATTORNEY FOR DEBTORS




                                                 21
20-05027-rbk Doc#21 Filed 07/06/20 Entered 07/06/20 13:49:56 Main Document Pg 22 of
                                         22



                                 CERTIFICATE OF SERVICE

  I hereby certify that a true and correct copy of the foregoing document was served on
  all counsel of record by way of e-service through the CM/ECF system by notice of electronic
  filing or via email on the 6th day of July 2020:


  Michael Black                                      Timothy Cleveland
  BURNS & BLACK PLLC                                 CLEVELAND | TERRAZAS PLLC
  750 Rittiman Road                                  4611 Bee Cave Road, Suite 306B
  San Antonio, Texas 78209                           Austin, Texas 78746
  210-829-2022                                       512-689-8698
  210-829-2021 fax                                   tcleveland@clevelandterrazas.com
  mblack@burnsandblack.com                           Attorneys for DMA Properties, Inc.
  Attorneys for Longbranch Energy, LP
  and DMA Properties, Inc.                           Jeffery Duke
                                                     State Bar No. 24056609
  Christopher S. Johns                               DUKE BANISTER MILLER & MILLER
  Christen Mason Hebert                              22310 Grand Corner Drive, Suite 110
  State Bar No. 24099898                             Katy, Texas 77494
  JOHNS & COUNSEL PLLC                               jduke@dbmmlaw.com
  14101 Highway 290 West, Suite                      Counsel for Longbranch Energy, LP
  400A
  Austin, Texas 78737                                OFFICE OF THE UNITED STATES
  512-399-3150                                       TRUSTEE
  512-572-8005 fax                                   903 San Jacinto Blvd, Room 230
  cjohns@johnsandcounsel.com                         Austin, Texas 78701
  chebert@johnsandcounsel.com                        shane.p.tobin@usdoj.gov
                                                     United States Trustee



                                               /s/ John Muller                _______
                                              C. John Muller IV




                                                22
